

People v Molina (2022 NY Slip Op 00946)





People v Molina


2022 NY Slip Op 00946


Decided on February 10, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 10, 2022

Before: Gische, J.P., Kern, Moulton, Kennedy, Rodriguez, JJ. 


Ind No. 955N/18 3462N/18 Appeal No. 15278 Case No. 2019-04869 

[*1]The People of The State of New York, Respondent, 
vAntonio Molina, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Lena Janoda of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Noreen M. Stackhouse of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Ann Scherzer, J.), rendered June 05, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 10, 2022
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








